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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                       
                               December 23, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 23[rd] day of December, 2015.

10-15-00282-CV	RAMSAY RAMSEY AND FRANK ALLEN RAMSEY v. THOMAS CHAVERS - ON APPEAL FROM THE COUNTY COURT AT LAW NO. 2 OF BRAZOS COUNTY - TRIAL COURT NO. 14-000376-CV-CCL2  -  DISMISSED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be considered and because appellant failed to file a brief or response showing grounds for continuing the appeal within the time ordered by this Court and as prescribed by the Texas Rules of Appellate Procedure, it is the opinion of this Court that the appeal should be dismissed; it is therefore ordered, adjudged and decreed that the appeal be, and hereby is, dismissed for want of prosecution.  It is further ordered that appellant pay all costs in this behalf expended and that this decision be certified below for observance."
